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JAM:LDM:BGK
F. #2019V02754

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
– – – – – – – – – – – – – – – – – – – –X

UNITED STATES OF AMERICA,

                     Plaintiff,
                                                         DEFAULT JUDGMENT AND
             – against –                                 PARTIAL DECREE OF
                                                         FORFEITURE
THE REAL PROPERTY AND PREMISES
KNOWN AS: DEED NO. 18,877; CALLE PASEO
DE LOS VIRREYES, 4283, LOT 21, MZA 41,                   Civil Action No. 19-5748 (ENV)
FRACCIONAMIENTO VILLA UNIVERSITARIA,
ZAPOPAN, JALISCO, MEXICO; CLAVE
CATASTRAL: 12014H223400370000, HELD IN
THE NAME OF HECTOR RAFAEL CARO
ELENES, WITH A USUFRUCT GRANTED FOR
LIFE TO RAFAEL CARO QUINTERO AND
ELIZABETH ELENES DE CARO, et al.,

                      Defendants In Rem.

– – – – – – – – – – – – – – – – – – – –X

              WHEREAS, on or about October 11, 2019, the United States of America

(“United States”) filed a Verified Complaint in rem (the “Verified Complaint”) against eight

real properties located in Mexico in the above captioned matter, which included the

following five properties:

              (i)    The real property and premises known as: Deed No. 18,877; Calle
                     Paseo de los Virreyes, 4283, Lot 21, Mza 41, Fraccionamiento Villa
                     Universitaria, Zapopan, Jalisco, Mexico; Clave Catastral:
                     12014H223400370000, held in the name of Hector Rafael Caro Elenes,
                     with a usufruct granted for life to Rafael Caro Quintero and Elizabeth
                     Elenes de Caro;

              (ii)   The real property and premises known as: Deed No. 9859. Avenida
                     Melchor Ocampo, 468 Bodega (Local) 21, Fraccionamiento Mercado
                     de Abastos Norte, Mercado el Campesino, 59, 21, 45140, Zapopan,
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                      Jalisco, Mexico; Clave Catastral: 12014I005900290000, held in the
                      names of Hector Rafael, Roxana Elizabeth, Henoch Emilio and Mario
                      Yibran, all with the surnames Caro Elenes, with a usufruct granted for
                      life to Rafael Caro Quintero and Elizabeth Elenes de Caro;

              (iii)   The real property and premises known as: Deed No. 8527; Calle
                       Sagitario 5289-8, Condominio Sagitario, Fraccionamiento Residencial
                       Arboldeas, Zapopan, Jalisco, Mexico; Clave Catastral:
                       12014H332600170008, held in the name of Roxana Elizabeth Caro
                       Elenes;

              (iv)    The real property and premises known as: Deed No 8527; Calle Sagitaro
                       5289-9, Condominio Sagitario, Fraccionamiento Residencial
                       Arboldeas, Zapopan, Jalisco, Mexico; Clave Catastral:
                       12014H332600170009, held in the name of Roxana Elizabeth Caro
                       Elenes; and

              (v)     The real property and premises known as: Deed No. 8187; Calle Luigi
                       Pirandello 5397, Lote 29B, Mza 145, Fraccionamiento Vallarta
                       Univerisdad, Zapopan, Jalisco, Mexico; Clave Catastral:
                       12014H114500370000, held in the name of Roxana Elizabeth Caro
                       Elenes

(Items (i) through (v), collectively, the “Defendant Real Properties”);

              WHEREAS, on October 11, 2019, this Court found, based on the Verified

Complaint, there was probable cause to believe that the Defendant Real Properties were

subject to forfeiture, pursuant to 18 U.S.C. § 981(a)(1)(C) and 21 U.S.C. § 881(a)(6), and

that the grounds for the issuance of the Court’s findings of probable cause existed pursuant to

Rule G(3) of the Supplemental Rules for Admiralty or Maritime Claims and Asset Forfeiture

Actions (the “Supplemental Rules”);

              WHEREAS, notice of this action was published on an official internet

government forfeiture website, www.forfeiture.gov, for at least thirty (30) consecutive days,

beginning on October 24, 2019 and ending on November 22, 2019, in accordance with

Supplemental Rule G(4)(a)(iv)(C);

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              WHEREAS, on or about November 25, 2020, notice of the Verified Complaint

was posted on the Defendant Real Properties, pursuant to 18 U.S.C. § 985(c)(1)(B);

              WHEREAS, the government served direct notice of forfeiture to all known

potential claimants, in accordance with Supplemental Rule G(4)(b)(i); and

              WHEREAS, on or about March 17, 2021, the Clerk of Court issued a

Certificate of Partial Default stating that no person has filed a claim or answer or otherwise

moved with respect to the Defendant Real Properties;

              UPON the Declaration of Brendan G. King, Assistant United States Attorney,

dated April 1, 2021, the Certificate of Partial Default, a copy of the Verified Complaint to

which no response has been made, and all papers filed and proceedings had herein;

              IT IS HEREBY ORDERED, ADJUDGED AND DECREED as follows:

              1.      Pursuant to Fed. R. Civ. P. 55 and Local Civil R. 55.2(b), the

Defendant Real Properties are hereby forfeited and condemned to the use and benefit of the

United States for the reasons set forth in the Verified Complaint.

              2.      All persons or entities known or thought to have an interest in, or claim

to the Defendant Real Properties having been given due notice of these proceedings, and

none of those persons or entities having filed a claim, answer, or other response to the

Verified Complaint of any kind, the default of all persons having any interest in the

Defendant Real Properties is hereby noted.

              3.      The United States Drug Enforcement Administration, United States

Marshals Service and any other duly authorized law enforcement officer and/or government

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contractors shall dispose of the Defendant Real Properties in accordance with all applicable

law and regulations.

              4.       This Court shall retain jurisdiction over this action to enforce this

Default Judgment and Partial Decree of Forfeiture.

              5.       The Clerk of this Court shall forward eight (8) certified copies of this

Partial Default Judgment and Partial Decree of Forfeiture to the United States Attorney’s

Office for the Eastern District of New York, Attention: AUSA Brendan G. King, 271-A

Cadman Plaza East, 7th Floor, Brooklyn, New York 11201.

Dated: Brooklyn, New York
                   April 15 2021
         __________________,

                                                               s/ ENV
                                                     HONORABLE ERIC N. VITALIANO
                                                     UNITED STATES DISTRICT JUDGE
                                                     EASTERN DISTRICT OF NEW YORK




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